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     Bernard E. Sandoval, Petitioner  v.  City of Colorado Springs, Respondent No. 24SC778Supreme Court of Colorado, En BancApril 28, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA198
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      GRANTED PETITION FOR WRIT OF CERTIORARI
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether the division of the court of appeals correctly
      interpreted section 24-10-106(1)(d)(II), C.R.S. (2024).
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    